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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re:                                )
                                      )                   Case No. 19-02812
HOWARD H. HARRIS                      )
                                      )                   Chapter 7
            Debtor.                   )
_____________________________________ )                   Judge Deborah L. Thorne
                                      )
METROPOLITAN CAPITAL BANK AND )
TRUST                                 )
                                      )
            Plaintiff,                )                   Adv. No. _______________
                                      )
      v.                              )
                                      )
HOWARD H. HARRIS                      )
                                      )
            Defendant.                )
                                      )


   COMPLAINT FOR DETERMINATION OF NONDISCHARGEABILITY OF DEBT
                   PURSUANT TO 11 U.S.C. §523(A)(2)

         Metropolitan Capital Bank & Trust, (“MetCap” or “Plaintiff”), pursuant to 11 U.S.C.

§523(a)(2) brings this adversary proceeding for a determination by this Court that the debt owed

to MetCap by Howard H. Harris (“Harris” or the “Debtor”) is nondischargeable, and respectfully

alleges as follows:

                                JURISDICTION AND VENUE

         1.    On February 1, 2019, the Debtor filed a voluntary petition (the “Petition”) for

relief under chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”) in the

United States Bankruptcy Court for the Northern District of Illinois.

         2.    This complaint commences an adversary proceeding through which MetCap, a

creditor of the Debtor, seeks a determination that the debt owed by the Debtor to MetCap is

nondischargeable pursuant to Section 523(a)(2) of the Bankruptcy Code.
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       3.      This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§1334 and Bankruptcy Code Section 523.

       4.      This case is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(I) and venue is

proper in the Northern District of Illinois under 28 U.S.C. §§ 1408 and 1409.

                                           PARTIES

       5.      MetCap is a state bank chartered under the State of Illinois. As more fully

described below, MetCap is a creditor of the Debtor.

       6.      Defendant Howard H. Harris is the Debtor in the above-captioned case and at all

relevant times resided at 734 Brookvale Terrace, Glencoe, IL 60022.

                                 GENERAL ALLEGATIONS

       7.      MetCap made a loan in the principal amount of $500,000.00 (the “Corporate

Loan”) to Form + Function, LLC; Glass Artistry, LLC; Rareform Design Group, LLC; Rareform

Architectural Products, LLC; and H3 Resource, LLC (collectively, the "Corporate Borrowers").

In connection with the Corporate Loan, the Corporate Borrowers executed and delivered to

MetCap certain loan documents, including but not limited to the following: (i) a Promissory

Note, dated January 30, 2017 in the principal amount of $500,000.00 (the "Note," a true and

correct copy of which is attached hereto as Exhibit A); and (ii) a Business Loan Agreement, dated

January 30, 2017 (the "Business Loan Agreement," a true and correct copy of which is attached

hereto as Exhibit B). Harris owned and managed each of the Corporate Borrowers

       8.       Harris personally guaranteed the debt obligations of the Corporate Borrowers under

the Corporate Loan to MetCap by executing and delivering to MetCap a Commercial Guaranty,

dated January 30, 2017 (the “Commercial Guaranty,” a true and correct copy of which is attached

hereto as Exhibit C).




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       9.      According to the terms of the Business Loan Agreement, the Corporate Borrowers

agreed to provide monthly Borrowing Base Certificates that detailed, among other things, an

accurate accounting of “eligible” accounts receivable. MetCap would then rely upon the

Borrowing Base Certificates and the underlying financial information, including the Debtor’s

reporting of such accounts receivable, to determine the availability of, and subsequent make,

advances under the revolving line of credit provided by the Business Loan Agreement.

       10.     In 2017, the Debtor provided written and signed Borrowing Base Certificates (the

“2017 BBCs”) to MetCap in connection with the Corporate Loan.

       11.     In the 2017 BBCs, the Debtor repeatedly made representations (the “BBC

Representations”) regarding the Corporate Borrowers’ clients and accounts receivables,

including aging and eligibility. Many of the BBC Representations, however, were false, indeed,

materially so. At all times that he submitted the 2017 BBCs, the Debtor knew that the BBC

Representations included as “eligible” accounts receivable: (i) amounts that were not accounts

receivable at all, but were, in fact, client deposits; and (ii) accounts receivable that were actually

ineligible for one or more reasons (e.g., the invoices were for projects that were so over-budget

and beyond deadline that they were highly likely never to be collected, the invoices were not for

work actually performed in the period indicated). The Debtor knew that such purported eligible

accounts receivable were falsely reported.

       12.     MetCap reasonably relied on the BBC Representations and continued to extend

credit to the Debtor’s companies, the Corporate Borrowers, based upon those representations.

       13.     By the fall of 2017, the Corporate Borrowers were in default under the Business

Loan Agreement. Harris then breached the terms of the Commercial Guaranty by failing to make

payment in full to MetCap of sums due under the Note by January 30, 2018. As a result of




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Defendant’s breach of the Commercial Guaranty, MetCap has been damaged in an amount no

less than the principal amount of $500,000 as of January 30, 2018, plus principal, accrued

interest (at a daily rate of $173.61), attorneys’ fees, and late fees due under the Commercial

Guaranty (and the Note, Business Loan Agreement, and related documents).

                                           COUNT I

       14.      MetCap incorporates paragraphs 1 through 13 of this Complaint as if fully set

forth herein.

       15.      Pursuant to Section 523(a)(2)(B) of the Bankruptcy Code, a debt is not

dischargeable where that debt was obtained by a materially false written statement by the debtor

respecting the debtor’s (or an insider’s) financial condition on which the creditor reasonably

relied and which statement was made by the debtor with the intent to deceive.

       16.      The debt that the Debtor owes to MetCap under the Commercial Guaranty was

obtained and extended by materially false written statements by the Debtor concerning the

Corporate Borrowers’ financial condition: the BBC Representations.

       17.      MetCap reasonably relied on the BBC Representations in providing and/or further

extending the Corporate Loan which resulted in the debt which the Debtor owes to MetCap.

       18.      The Debtor made the representations in the BBC Representations with the intent

to deceive MetCap.

       19.      All or part of the debt owed by the Debtor to MetCap under the Loan Agreements

is nondischargeable under Section 523(a)(2)(B) of the Bankruptcy Code as it was obtained

and/or extended by one or more materially false written statements by the Debtor respecting the

Corporate Borrowers’ (insiders of the Debtor) financial condition on which MetCap reasonably

relied and which statements were made by the Debtor with the intent to deceive MetCap.




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       WHEREFORE, Metropolitan Capital Bank & Trust respectfully requests that this Court

enter judgment determining that the debt owed to it by Howard H. Harris is nondischargeable

under Bankruptcy Code Section 523(a)(2)(B) and granting Metropolitan Capital Bank & Trust

such other and further relief as this Court may deem just and proper.

DATED: May 3, 2019                           By: /s/ James E. Morgan
                                                 James E. Morgan (Fed. I.D. No. 90785074)

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